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11    Attorneys for Defendants and Counter-Claimants,
      Andy Chou (aka Lizhi Zhou); Yiwu Cute Jewelry
12    Co., Ltd.; Yiwu Xite Jewelry Co., Ltd.; CJ Fulfillment
      Corp.; CJ Trade Corp.; and Yiwu Promotional Trade
13    Co., Ltd. (aka Yiwu Promotion Trade Co., Ltd.)
14                             UNITED STATES DISTRICT COURT
15            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
16    JUUL LABS, INC., a Delaware               Case No.: 2:21-cv-03056-CAS-PHx
      corporation,
17                                              DEFENDANTS’ AND COUNTER-
                  Plaintiff,                    CLAIMANTS’ NOTICE OF
18                                              ASSOCIATION OF COUNSEL
            vs.
19
      ANDY CHOU (aka LIZHI ZHOU), an Honorable Dale S. Fischer
20    individual; YIWU CUTE JEWELRY
      CO., LTD., a Chinese limited company;
21    YIWU XITE JEWELRY CO., LTD., a
      Chinese limited company; CJ
22    FULFILLMENT CORP., a California
      corporation; CJ TRADE CORP., an
23    Arizona corporation; and YIWU
      PROMOTIONAL TRADE CO., LTD.
24    (aka YIWU PROMOTION TRADE CO.,
      LTD.), a Chinese limited company,
25
                  Defendants.
26
27    ANDY CHOU (aka LIZHI ZHOU), an
28    individual, YIWU CUTE JEWELRY

29            NOTICE OF ASSOCIATION OF COUNSEL FOR DEFENDANTS AND COUNTER-CLAIMANTS

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      CO., LTD., a Chinese limited company;
1     CJ FULFILLMENT CORP., a California
      corporation; and CJ TRADE CORP., an
2     Arizona corporation,
3                  Counter-Claimants,
4           vs.
5     HU QIAN, an individual,
6
                Counter-Defendant.
7     _________________________________
      _
8
9
10          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
11          PLEASE TAKE NOTICE THAT Defendants and Counter-Claimants Andy Chou
12    (aka Lizhi Zhou); Yiwu Cute Jewelry Co., Ltd.; Yiwu Xite Jewelry Co., LTD.; CJ
13    Fulfillment Corp.; CJ Trade Corp.; and Yiwu Promotional Trade Co., LTD (aka Yiwu
14    Promotion Trade Co., LTD.) hereby associate Rutan & Tucker, LLP as counsel of record
15    and request the Court and parties to add the following to their service list:
16
                   Alejandro S. Angulo [State Bar No. 217823]
17                 aangulo@rutan.com
                   Bradley A. Chapin [State Bar No. 232885]
18                 bchapin@rutan.com
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                   Facsimile: (714) 546-9035
22
23          Dated: May 17, 2021                            Respectfully submitted,
24                                                         INHOUSE CO. LAW FIRM
25
26                                                         By     /s/ Alexander Chen
27                                                                Alexander Chen

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29            NOTICE OF ASSOCIATION OF COUNSEL FOR DEFENDANTS AND COUNTER-CLAIMANTS

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1          Dated: May 17, 2021                       RUTAN & TUCKER, LLP
2
3                                                    By    /s/ Bradley A. Chapin
                                                           Bradley A. Chapin
4
                                                     Attorneys for Defendants and
5                                                    Counter-Claimants:
                                                     Andy Chou (aka Lizhi Zhou); Yiwu
6                                                    Cute Jewelry Co., Ltd.; Yiwu Xite
                                                     Jewelry Co., Ltd.; CJ Fulfillment
7                                                    Corp.; CJ Trade Corp.; and Yiwu
                                                     Promotional Trade Co., Ltd. (aka
8                                                    Yiwu Promotion Trade Co., Ltd.)
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29           NOTICE OF ASSOCIATION OF COUNSEL FOR DEFENDANTS AND COUNTER-CLAIMANTS

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1                                  CERTIFICATE OF SERVICE

2
            The undersigned hereby certifies that a true and correct copy of the foregoing
3
      document has been served on this date to all current and/or opposing counsel of record, if
4
      any to date, who are deemed to have consented to electronic service via the Court’s
5
      CM/ECF system per Civ.L.R. 5.4(d). Any other counsel of record will be served by
6
      electronic mail, facsimile, and/or overnight delivery upon their appearance in this matter.
7
            I declare under penalty of perjury of the laws of the United States that the foregoing
8
      is true and correct.
9
            Executed this 17th day of May at Irvine, California.
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12                                                 By: /s/Sharon Shepard
                                                      Sharon Shepard
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29            NOTICE OF ASSOCIATION OF COUNSEL FOR DEFENDANTS AND COUNTER-CLAIMANTS

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